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 7                                    DISTRICT OF NEVADA
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 9      ITED STATESOF AM ERICA,                )
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10                Plaintiff,                   )
                                               )
11 vs.                                         )         2:10-cr-547RLH-GW F
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12 ALFRED JONES,                               )
                                               )
13                Defendant.                   )                   ORDER
l4
15         On Decemberl,2010,JamesHartsell,Esq. w as appointed to representA lfred Jones. The
16 Courtgranted thedefendant'srequestfornew counselon August17, 2011. Thrrefore;
17         IT IS HEREBY ORDERED thatM argaretM . Sunish,Esq.isappointed as counselfor
Jg A lfred Jonesin plalx ofJam esH artsell, Esq.for allfuture proceedings.
19         IT ISFURTHER ORDERED thatM r.HartsellshallfonvardthefiletoM s. Stanishforthw ith.
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           DATED this /-115k.day ofAugust, 20ll.
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                                                       LINITED STATES M AGISTRATE JUDGE
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